         Case 3:23-cv-30113-KAR Document 22 Filed 12/15/23 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT FOR THE
                DISTRICT OF MASSACHUSETTS, WESTERN DIVISION

CANNA PROVISIONS, INC., GYASI                          No. 23-cv-30113
SELLERS, WISEACRE FARM, INC.,
VERANO HOLDINGS CORP.

                    PLAINTIFFS,

        -against-


MERRICK GARLAND, IN HIS CAPACITY
AS ATTORNEY GENERAL OF THE UNITED
STATES,

                    DEFENDANT.


 CORPORATE DISCLOSURE STATEMENT OF PLAINTIFF CANNA PROVISIONS, INC.

       Plaintiff Canna Provisions, Inc., through its undersigned counsel, certifies the following

pursuant to Federal Rule of Civil Procedure 7.1. Canna Provisions, Inc. is 100% owned by

Better Provisions, LLC, a Delaware Limited Liability Company. Better Provisions, LLC has no

parent corporation and no publicly held corporation owns 10% or more of its stock.



 Date: December 15, 2023                         Respectfully submitted,
 Boies Schiller Flexner LLP                      Lesser, Newman, Aleo & Nasser LLP

 /s/ David Barillari
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        Case 3:23-cv-30113-KAR Document 22 Filed 12/15/23 Page 2 of 3




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                                                 2
         Case 3:23-cv-30113-KAR Document 22 Filed 12/15/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2023, I caused a copy of the foregoing Corporate

Disclosure Statement to be served, via the electronic case filing system of the Court, on all

counsel of record for the parties in these proceedings.


                                              Dated: December 15, 2023

                                              /s/ David Barillari
                                              David Barillari
